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UN|TED STATES OF AlV|ER|CA
Plaintiff

VS.
CR. NO. 04-20470-D

CARLOS BURNS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lVlay 19, 2005. At that time, counsel forthe
defendant requested a continuance ofthe June 6, 2005trial date and requested a Change
of P|ea hearing date.

The Court granted the request and resetthe trial date to Ju|y 5, 2005 with a Change

of P|ea hearing date of Thursday, June 30, 2005l at 11:00 a.m., in Courtroom 3 ch
F|oor of the Federa| Bui|ding, lVlemphis, TN.

 

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) becausethe ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

nis so oRoEREo this 520 day of May, 2005.

   

  

 

ERN|CE . DONALD /
N|TED STATES DISTR|CT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CR-20470 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

